Case 2:15-cv-00127-ABJ Document 217-5 Filed 12/02/16 Page 1 of 4

EXHIBIT E
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THE INVESTIGATOR’S
GUIDE TO TIRE FAILURES

R.J. Grogan

Institute of Police Technology
and Management

 
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THE INVESTIGATOR'S GUIDE
TO TIRE FAILURES

 

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Cover photo: Aftermath of a Tire Fire
Case 2:15-

 

Load, speed, inflation pressure and ambient temperature will all
modify the failure rate. Note also that "soft" cords such as rayon will
fray and fluff out more rapidly than, say, nylon, so the material of
which the cords are made must figure in the assessment too.

The thickness of the casing of the tire modifies the position of the
fracture. A thick bias ply truck tire will show impact damage deep
inside the structure, and with further use the damage will progress
outwards towards the tread until the failure point is reached. This
effect puzzles many investigators but becomes more understandable
if we liken the tire to‘a piece of wood supported at the ends. If a
heavy blow is inflicted to its center, the wood splinters and breaks, but
the damage begins not on the side immediately under the source of
the impact but on the opposite side. This is because the wood bends
and in doing so causes the fibers on the underside away from the
blow to be stretched the furthest. In a somewhat similar way, the
casing of a heavy tire will show the greatest damage not on the
outermost ply (the ply closest to the tread pattern) but, as it turns out,
on the next-to-innermost ply. The reason for the greatest damage not
being on the innermost one is that this ply has in effect some freedom
to dodge the blow, whereas the next-to-innermost ply is constrained
on all sides. -

Whatever the reason, the fact remains that the inner structure is
weakened irreparably and the weakness progresses outwards with
continued use. Eventually the tire fails and the tire displays the
characteristic X fracture, which may then be obscured to some extent
by the fluffing of the ‘Surrounding cord structure. The driver will almost
certainly deny that the tire has ever been subjected to an impact.
Probably he has forgotten all about it or perhaps he wasn't driving at
the time, but impact fractures are easy to diagnose positively.

Radial tires are essentially of bias ply construction in the crown, as we
learned in Chapter 2, in that they also have their belt cords laid
diagonally. That being so, we can expect them to react in the same
way to impacts in the crown area as bias ply tires, and they do.

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